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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
MONIKA GRANTZ, )
)
Plaintiff, )
) Civil Action No.

Vv. ) 1:07-cv-00933-TCB
)
PENNCRO ASSOCIATES, INC. and )
Fictitious Defendants A, B, andC,allof )
whose true and correct names are not )
further known to Plaintiff at this time, but)
when ascertained, will be added by way of )
amendment, )
)
Defendants. )
_)

 

STIPULATION OF DISMISSAL WITH PREJUDICE

COME NOW, Plaintiff Monika Grantz and Defendant Penncro
Associates, Inc., by and through its undersigned counsel, and file this
Stipulation of Dismissal With Prejudice pursuant to Rule 41(a)(1)(ii) of the
Federal Rules of Civil Procedure, hereby dismissing this action with

prejudice as to all defendants.

SO STIPULATED to this 16" day of July 2007.

FRANZEN AND SALZANO, P.C.

/s/ Keary Floyd

Keary Floyd

Georgia Bar No. 142398
John H. Bedard, Jr.
Georgia Bar No. 043473
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